             Case 6:18-bk-18036-SY                   Doc 203 Filed 08/01/24 Entered 08/01/24 09:05:00           Desc
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      Robert Whitmore, Trustee
      3600 Lime Street, Suite 616
      Riverside, CA 92501
.2    Phone: 951-276-9292
 ary Services
                               UNITED STATES BANKRUPTCY COURT
                               CENTRAL DISTRICT OF CALIFORNIA
                                      RIVERSIDE DIVISION

             In re:                       §
                                          §
             MCKENNA GENERAL ENGINEERING, §                            Case No. 6:18-bk-18036-SY
             INC.
                                          §
                      Debtor(s)           §

                                                  NOTICE OF TRUSTEE’S FINAL REPORT AND
                                                    APPLICATIONS FOR COMPENSATION
                                                      AND DEADLINE TO OBJECT (NFR)

                      Pursuant to Fed. R. Bankr. P. 2002(a)(6) and 2002(f)(8), please take notice that ROBERT S.
             WHITMORE, TRUSTEE, trustee of the above styled estate, has filed a Final Report and the trustee and
             the trustee’s professionals have filed final fee applications, which are summarized in the attached
             Summary of Trustee's Final Report and Applications for Compensation.

                     The complete Final Report and all applications for compensation are available for inspection at
             the Office of the Clerk, at the following address:
                                                     U. S. BANKRUPTCY COURT
                                                     CLERK'S OFFICE
                                                     3420 TWELFTH STREET
                                                     RIVERSIDE, CA 92501

                     A hearing on the Trustee's Final Report and Applications for Compensation will be held at
             9:30 a.m. on September 12, 2024 in Courtroom #302, United States Bankruptcy Court, located at
             3420 Twelfth Street Riverside, CA 92501. Any person wishing to object to any fee application
             that has not already been approved, or to the Trustee's Final Report, must file a written opposition
             thereto pursuant to Local Bankruptcy Rule 9013-1(f) not later than 14 days before the date
             designated for hearing and serve a copy of the opposition upon the trustee, any party whose
             application is being challenged and the United States Trustee. Untimely objections may be
             deemed waived. In the absence of a timely objection by the United States Trustee or other party
             in interest, the Court may discharge the Chapter 7 Trustee and close the case without reviewing
             the Final Report and Account or determining the merits of the Chapter 7 Trustee's certification
             that the estate has been fully administered. See Federal Rule of Bankruptcy Procedure 5009.

             Date Mailed: 07/31/2024                                 By: /S/   ROBERT S. WHITMORE
                                                                                 ROBERT S. WHITMORE




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                                              UNITED STATES BANKRUPTCY COURT
                                               CENTRAL DISTRICT OF CALIFORNIA
                                                     RIVERSIDE DIVISION


      In re:                       §
                                   §
      MCKENNA GENERAL ENGINEERING, §                                                  Case No. 6:18-bk-18036-SY
      INC.
                                   §
               Debtor(s)           §

                                             SUMMARY OF TRUSTEE'S FINAL REPORT
                                             AND APPLICATIONS FOR COMPENSATION


                   The Final Report shows receipts of                                                                 $                   635,966.26
                   and approved disbursements of                                                                      $                   320,533.20
                                                            1
                   leaving a balance on hand of                                                                       $                   315,433.06


                 Claims of secured creditors will be paid as follows:

                                                                                 Allowed                   Interim
                                                                                 Amount of                 Payment to               Proposed
       Claim No. Claimant                               Claim Asserted           Claim                     Date                     Payment
                        PACIFIC
       000042           WESTERN BANK $ 1,031,157.24 $ 1,031,157.24 $                                             260,915.17 $                       0.00
                   Total to be paid to secured creditors                                                              $                             0.00
                   Remaining Balance                                                                                  $                   315,433.06


                 Applications for chapter 7 fees and administrative expenses have been filed as follows:

                                                                                                     Interim Payment             Proposed
                            Reason/Applicant                             Total Requested             to Date                     Payment
       Trustee Fees: ROBERT S. WHITMORE,
       TRUSTEE                                                          $           29,691.97 $                           0.00 $            29,691.97
    Trustee Expenses: ROBERT S.
    WHITMORE, TRUSTEE
____________________                                                    $               156.96 $                          0.00 $                156.96
           1
              The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to disbursement
will be distributed pro rata to creditors within each priority category. The trustee may receive additional compensation not to exceed the
maximum compensation set forth under 11 U.S.C. §326(a) on account of the disbursement of the additional interest.

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                                                                           Interim Payment     Proposed
                         Reason/Applicant             Total Requested      to Date             Payment
      Attorney for Trustee Fees: MARSHACK
      HAYS LLP                                        $      203,466.67 $         35,342.76 $       168,123.91
      Attorney for Trustee Expenses:
      MARSHACK HAYS LLP                               $        9,797.22 $          8,189.71 $          1,607.51
      Accountant for Trustee Fees: DONALD T.
      FIFE                                            $       33,448.91 $          5,979.83 $         27,469.08
      Accountant for Trustee Expenses:
      DONALD T. FIFE                                  $        1,012.20 $            487.70 $             524.50
      Other: FRANCHISE TAX BOARD                      $        8,839.54 $                 0.00 $       8,839.54
      Other: INTERNATIONAL SURETIES,
      LTD                                             $           10.44 $             10.44 $                0.00
                Total to be paid for chapter 7 administrative expenses                $             236,413.47
                Remaining Balance                                                     $               79,019.59


               Applications for prior chapter fees and administrative expenses have been filed as follows:


                                                            NONE


              In addition to the expenses of administration listed above as may be allowed by the Court,
     priority claims totaling $ 52,785.27 must be paid in advance of any dividend to general (unsecured)
     creditors.

                 Allowed priority claims are:

                                                  Allowed Amount         Interim Payment to
     Claim No.          Claimant                  of Claim               Date               Proposed Payment
                        UNITEDHEALTHCAR
                        E INSURANCE
     000014             COMPANY         $                    964.20 $                 0.00 $              964.20
                        FRANCHISE TAX
     000027A            BOARD                    $           845.98 $                 0.00 $              845.98
                        TRUSTEES OF THE
                        OPERATING
     000031A            ENGINEERS                $        23,133.57 $                 0.00 $         23,133.57




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                                                   Allowed Amount      Interim Payment to
     Claim No.          Claimant                   of Claim            Date               Proposed Payment
                        INTERNAL REVENUE
     000032A            SERVICE          $               27,841.52 $                  0.00 $          27,841.52
                Total to be paid to priority creditors                                $               52,785.27
                Remaining Balance                                                     $               26,234.32


             The actual distribution to wage claimants included above, if any, will be the proposed payment
     less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).

             Timely claims of general (unsecured) creditors totaling $ 928,862.23 have been allowed and
     will be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
     timely allowed general (unsecured) dividend is anticipated to be 2.8 percent, plus interest (if
     applicable).

                 Timely allowed general (unsecured) claims are as follows:

                                                   Allowed Amount      Interim Payment to
     Claim No.          Claimant                   of Claim            Date               Proposed Payment
                        PACCAR FINANCIAL
     000001             CORP.            $                 1,137.54 $                 0.00 $               32.13
                        SOUTHERN
                        COUNTIES
     000002             LUBRICANTS                $        5,969.51 $                 0.00 $             168.60
                        CARDLOCK FUELS
     000003             SYSTEM, INC.              $      36,712.47 $                  0.00 $           1,036.89
                        ROBERT HALF
                        FINANCE &
     000004             ACCOUNTING                $      13,000.00 $                  0.00 $             367.17
                        TIMMONS WOOD
     000005             PRODUCTS                  $        4,732.78 $                 0.00 $             133.67
     000006             INSIDE PLANTS, INC. $                176.00 $                 0.00 $                4.97
                        AMTRUST GROUP
                        INSURANCE
     000007             COMPANY                   $      12,500.00 $                  0.00 $             353.04
                        AMTRUST GROUP
                        INSURANCE
     000008             COMPANY                   $      10,208.98 $                  0.00 $             288.34




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                                                  Allowed Amount    Interim Payment to
     Claim No.          Claimant                  of Claim          Date               Proposed Payment
                        WESTERN OILFIELDS
     000009             SUPPLY CO         $               9,629.80 $            0.00 $           271.98
                        QUINN RENTAL
     000010             SERVICES, INC.           $      49,029.49 $             0.00 $         1,384.76
                        ASSET COLLECTIONS
     000011             INC               $             20,215.17 $             0.00 $           570.95
                        MIKES WELDING
     000012             ENTERPRISES, INC.        $        4,224.00 $            0.00 $           119.30
                        AHERN RENTALS,
     000013             INC                      $        2,153.72 $            0.00 $            60.83
     000015             MIKE ROCHE, INC.         $     120,468.48 $             0.00 $         3,402.45
     000016             IPFS CORPORATION         $        4,133.03 $            0.00 $           116.73
                        ADVANCED
     000017             SWEEPING SERVICES $               5,400.00 $            0.00 $           152.51
                        PW GILLIBRAND CO
     000018             INC                      $      54,493.13 $             0.00 $         1,539.08
                        TWO OAKS
     000019             SWEEPING LLC             $        3,875.00 $            0.00 $           109.44
     000020             PEOPLEREADY INC.         $        6,906.25 $            0.00 $           195.06
                        VULCAN MATERIALS
     000021             COMPANY          $                1,044.26 $            0.00 $            29.49
                        SOUTHERN
     000023             CALIFORNIA EDISON $                874.49 $             0.00 $            24.70
     000024             MILLER BLADES INC $               4,560.00 $            0.00 $           128.79
                        APPLE ONE
                        EMPLOYMENT
     000025             SERVICES                 $      10,316.41 $             0.00 $           291.37
                        KYLE LAWLESS, DBA
     000026             K&B WATER TRUCKS $              20,140.00 $             0.00 $           568.82
                        DESIGN MASONRY,
     000029             INC.                     $        1,820.00 $            0.00 $            51.41
                        HD SUPPLY
                        CONSTRUCTION
     000030             SUPPLY                   $         797.14 $             0.00 $            22.51




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                                                  Allowed Amount         Interim Payment to
     Claim No.          Claimant                  of Claim               Date               Proposed Payment
                        GHASSEMIAN LAW
     000033             GROUP, APC               $         14,999.57 $               0.00 $              423.64
     000035             SAM HILL & SONS          $         12,753.57 $               0.00 $              360.21
                        ACE RENTAL &
     000037             PARTS                    $         23,590.20 $               0.00 $              666.27
                        PASCAL & LUDWIG
     000039             CONTRACTORS INC          $         44,665.81 $               0.00 $            1,261.52
                        LAW OFFICES OF
                        MICHELLE J.
     000040             SUKHOV, INC.             $         46,342.37 $               0.00 $            1,308.87
                        K. HOVNANIAN
                        COMPANIES OF CA,
     000041             INC.                     $         13,556.89 $               0.00 $              382.89
                        OLTMANS
                        CONSTRUCTION
     000043             COMPANY                  $       286,053.07 $                0.00 $            8,079.14
                        WASTE
                        MANAGEMENT C/O
     000045             JACQUOLYN MILLS          $         34,012.22 $               0.00 $              960.62
                        SANTA MARGARITA
     000047             WATER DISTRICT  $                       0.00 $               0.00 $                 0.00
     000050             WESLEY KELLER            $         12,268.20 $               0.00 $              346.50
     000051             TAYLOR BONNEAU           $         12,449.18 $               0.00 $              351.61
                        TRUSTEES OF THE
                        OPERATING
     000031B            ENGINEERS                $         23,653.50 $               0.00 $              668.06
                Total to be paid to timely general unsecured creditors                $               26,234.32
                Remaining Balance                                                     $                     0.00


             Tardily filed claims of general (unsecured) creditors totaling $ 0.00 have been allowed and will
     be paid pro rata only after all allowed administrative, priority and timely filed general (unsecured) claims
     have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent, plus interest (if
     applicable).

                 Tardily filed general (unsecured) claims are as follows:




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                                                           NONE


            Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
     subordinated by the Court totaling $ 5,361.81 have been allowed and will be paid pro rata only after all
     allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend for
     subordinated unsecured claims is anticipated to be 0.0 percent, plus interest (if applicable).

            Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
     subordinated by the Court are as follows:

                                                  Allowed Amount       Interim Payment to
     Claim No.          Claimant                  of Claim             Date               Proposed Payment
                        INTERNAL REVENUE
     000032B            SERVICE          $                 4,247.81 $               0.00 $                0.00
                        FRANCHISE TAX
     000027B            BOARD                    $         1,114.00 $               0.00 $                0.00
                Total to be paid to subordinated unsecured creditors                 $                    0.00
                Remaining Balance                                                    $                    0.00


                                               Prepared By: /s/ROBERT S. WHITMORE
                                                                 ROBERT S. WHITMORE, TRUSTEE


     ROBERT S. WHITMORE, TRUSTEE
     3600 LIME STREET
     SUITE #616
     RIVERSIDE, CA 92501


     STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
     Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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